                      Case 18-21835            Doc 36        Filed 12/11/18          Page 1 of 3



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF MARYLAND
                                      (Greenbelt Division)

                                                                                 Chapter 11
In Re:                                                                           (Jointly Administered)

CPKAP, LLC d/b/a Kapnos Taverna College Park, et al.,1                           Case No.: 18-21808 (TJC)

                            Debtors.



                                          CERTIFICATE OF SERVICE


          I hereby certify that on the 11th day of December, 2018, copy of each of the following

documents was mailed via first class, postage prepaid to the parties on the attached service list.
           Official Form 309F – Notice of Chapter 11 Bankruptcy Case
           Amended Schedules
           Declaration Under Penalty of Perjury for Non-Individual Debtors
           Summary of Assets and Liabilities Schedules for Non-Individual
           Amended Statement of Financial Affairs for Non-Individual
           Amended Creditor Matrix



                                                                          /s/ Warren J. Martin Jr.
                                                                  Warren J. Martin (admitted pro hac vice)
                                                                  Kelly D. Curtin (admitted pro hac vice)
                                                                  Porzio, Bromberg & Newman, P.C.
                                                                  100 Southgate Parkway
                                                                  Morristown, New Jersey 07962
                                                                  (973) 538-4006
                                                                  wjmartin@pbnlaw.com
                                                                  Debtors' General Bankruptcy Counsel


1
  The Debtors in these chapter 11 bankruptcy cases, their addresses, the last four digits of their employment identification
numbers and their case numbers are: CPKAP, LLC d/b/a Kapnos Taverna College Park, 7777 Baltimore Ave, College Park, MD
20740, (3742), Case No. 18-21808; BallCantina, LLC d/b/a Pepita, 4000 Wilson Blvd, Ste D, Arlington, VA 22203, (7545),
Case No. 18-21823; BallNoodle, LLC d/b/a Yona, 4000 Wilson Blvd, Ste C, Arlington, VA 22203, (2510), Case No. 18-21824;
14WBella, LLC d/b/a Kapnos & G, 2201 14th St NW, Washington, DC 20009, (3035), Case No. 18-21825; Masskap, LLC d/b/a
Arroz, 901 Massachusetts Ave NW, Washington, DC 20001, (2590), Case No. 18-21827; Mosakap, LLC d/b/a Requin
VA/Mosaic, 8296 Glass Alley #110, Fairfax, VA 22031, (6763), Case No. 18-21828; TyIsa, LLC d/b/a Isabella Eatery, 2001
International Drive, McLean, VA 22102, (4088) Case No. 18-21830; BallKap, LLC d/b/a Kapnos Taverna, 4000 Wilson Blvd,
Ste. A, Arlington, VA 22203, (1385), Case No. 18-21832; and Mike Isabella, Inc., 12154 Darnestown Rd, Ste 621, Gaithersburg,
MD 20878, (6314), Case No. 18-21835).



4102330
                     Case 18-21835 Doc 36     Filed 12/11/18   Page 2 of 3
    The following parties received a
    copy of the filing by first class mail:
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




    14WBella, LLC
    12154 Darnestown Road, Ste 621
    Gaithersburg, MD 20878



    ADP
    c/o Maddie Dean
    401 North Washington Street
    Rockville, MD 20850



    BallKap, LLC
    12154 Darnestown Road, Ste 621
    Gaithersburg, MD 20878



    EagleBank
    130 Rollins Avenue
    Rockville, MD 20852



    Government of the District of Columbia
    1101 4th Street, SW
    Washington, DC 20024



    Kelly Health Insurance
    P.O. Box 418926
    Boston, MA 02241-8926



    M&T Bank
    One M&T Plaza
    Buffalo, NY 14203



    MosaKap, LLC
    12154 Darnestown Road, Ste 621
    Gaithersburg, MD 20878



    ReqWharf LLC
    12154 Darnestown Road, Ste 621
    Gaithersburg, MD 20878
           Case 18-21835   Doc 36   Filed 12/11/18   Page 3 of 3



The Columbia Bank
Loan Operations
P.O. Box 69
East Petersburg, PA 17520
